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10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                               SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                         )   Case No. CR-15-00226-EJD
                                                       )
15           Plaintiff,                                )   UNITED STATES’ AMENDED WITNESS LIST
                                                       )
16      v.                                             )
                                                       )   Trial Date:    August 25, 2015
17   DOUGLAS YORK,                                     )   Time:          9:00 a.m.
                                                       )   Courtroom:     Hon. Edward J. Davila
18           Defendant.                                )
                                                       )
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22           The United States submits this Witness List, giving notice to the Court and to defendant Douglas

23 York of the witnesses it may call in its case in chief at the trial in the above-captioned case. This list is

24 intended to be inclusive and does not necessarily identify the order in which witnesses will be called.

25 The government may choose not to call every witness on this list. The government reserves the right to

26 supplement this list as trial preparations progress. The government will notify the defendant of any
27 changes to its witness list.

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     UNITED STATES’ AMENDED WITNESS LIST
     CR-15-00226-EJD
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 1        The United States expects to call the following percipient witnesses in its case-in-chief:

 2               1.      Allan Hessenflow, will testify to instances of contact with the defendant,
                         including but not limited to the voice mail he received on February 23, 2012 and
 3                       to other related exhibits.
 4               2.      Andrea York, will testify about instances of contact with the defendant and to
 5                       other related exhibits.

 6               3.      Special Agent Donna Aguirre, TIGTA will testify to the investigation.

 7               4.      Nathan Cooper, custodian of records from Teltech Systems Inc., will testify to
                         subpoenaed records and business practices.
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 9               5.      Nicole LNU, A custodian of records from Verizon Wireless will testify to
                         subpoenaed phone records.
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                 6.      William Powell, a custodian of records from Craigslist will testify to subpoenaed
11
                         records related to a February 24, 2012 posting.
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13 DATED: August 14, 2015                                              Respectfully submitted,

14                                                              MELINDA HAAG
                                                                United States Attorney
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16                                                                     /s/
17                                                              BRIANNA PENNA
                                                                JEFF SCHENK
18                                                              Assistant United States Attorneys

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     UNITED STATES’ AMENDED WITNESS LIST
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